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FoR THE WESTERN DISTRICT oF TENNESSEE .
wEsTERN DIVISION 95 SEP l PH 3' 39

 

UNITED STATES OF Al\/[ERICA

 

VS.

No. 05-20037-1)
EVA BRASKER,

Defendant.

 

ORDER GRANTING DEFENDANT’ S MOTION TO CONTINUE TI-]E
SUPPRESSION HEARING

 

Before the Court is Defendant Eva Brasker’s motion to continue the Suppression
Hearing currently set for September 2, 2005 at 2:00 p.m. The Court finds that neither the
United States nor counsel for co-defendant Rafael Fuentes objects to the continuance
The Court Hthher finds that Defendant has no objection to the time being excluded for
purposes of the Speedy Trial Act.

lt is THEREFORE, ORDERED, ADJUDGED AND DECREED that Defendant’s
request for a continuance is granted The case is reset from Septernber 2, 2005 at 2:00

p.m. umnthe 13th day Of Oc+c>ber ,2005aio?.`00@m@

Entered this the ,‘:! f day of dz;‘ F mb , 2005.

    

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Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
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Honorable Bernice Donald
US DISTRICT COURT

